Case 7:20-cr-00545-PMH Document 123 Filed 11/02/21 Page 1 of 2

April 2, 2020

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

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UNITED STATES OF AMERICA
WAIVER OF RIGHT TO BE PRESENT AT
ve CRHVINAL PROCEEDING
Roshawh Stewart : 20 -CR-545 (PMH}{ )
Defendant.
aan - x

Check Proceeding that Applies

Date:

Date:

Arraignment

| have been given a copy of the indictment containing the charges against me and have reviewed it with my
attorney. | understand that | have a right to appear before a judge in a courtroom in the Southern District
of New York to confirm that | have received and reviewed the indictment; to have the indictment read aloud
to me if | wish; and to enter a plea of either guilty or not guilty before the judge. After consultation with
my attorney, | wish to plead not guilty. By signing this document, | wish to advise the court of the following.
i willingly give up my right to appear in a courtroom in the Southern District of New York to advise the court
that:

1) | have received and reviewed a copy of the indictment.
2) ido not need the judge to read the indictment aloud to me.
3) | plead not guilty to the charges against me in the indictment.

 

Signature of Defendant

 

Print Name
Bail Hearing

iam applying or in the future may apply for release from detention, or if not detained, for modification of
the canditions of my release from custody, that is, my bail conditions. | understand that f have a right to
appear before a judge in a courtroom in the Southern District of New York at the time that my attorney
makes such an application, | have discussed these rights with my attorney and wish to give up these rights
for the pertod of time in which access te the courthouse has been restricted on account of the COVID-19
pandemic. | request that my attorney be permitted to make applications for my release from custody or
for modification of the conditions af my release even though | will not be present, and to make such
applications in writing or by telephone in my attorney's discretion.

 

Signature of Defendant

 

Print Name
Case 7:20-cr-00545-PMH Document 123 Filed 11/02/21 Page 2 of 2

x Conference

f have been charged in an indictment with violations of federal law. | understand that | have a right to be
present at all conferences concerning this indictment that are held by a judge in the Southern District of
New York, unfess the conference involves only a question of law. Eunderstand that at these conferences
the judge may, among other things, 1) set a schedule for the case including the date at which the trial will
be held, and 2) determine whether, under the Speedy Trial Act, certain periods of time should be properly
excluded in setting the time by which the trial must occur. 1 have discussed these issues with my attorney
and wish to give up my right to be present at the conferences. By signing this document, | wish to advise
the court that f willingly give up my right to be present at the conferences In my case for the period of time
in which access to the courthouse has been restricted on account of the COVID-19 pandemic, |request that
my attorney he permitted to represent my interests at the proceedings even though | will not be present.

  

Date: 44/4/21

Signature of Defendant

 

Roshawn Stewart
Print Name

 

t hereby affirm that fam aware of my obligation to discuss with my client the charges cantained in the indictment,
my client's rights to attend and participate in the criminal proceedings encompassed by this waiver, and this waiver
form. Laffirm that my client knowingly and voluntarily consents to the proceedings being hetd in my client’s absence.
t WHH inform my client of what transpires at the proceedings and provide my client with a copy of the transcript of
the proceedings, if requestgd.

  
   

Date: 11/1/21

 
 

Signature of De

Margaret M. Shatley
Print Name

Addendum for a defendant who requires services of an interpreter:

| used the services of an interpreter to discuss these issues with the defendant. The interpreter also translated this
document, in its entirety, to the defendant before the defendant signed it. The interpreters name is;

  

Date: nn
Signature of Defense Counsel
Accepted: MN

Srereteneomiedse FON, Philip M. Halpern, U.S.D.J.
Date: November 2, 2021

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